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                        TESLA, INC.
                 10
                 11                                UNITED STATES DISTRICT COURT
                 12                               NORTHERN DISTRICT OF CALIFORNIA
                 13
                 14     JAMES PORTER, BRYAN PEREZ, and DRO               Case No. 4:23-cv-03878-YGR
                        ESRAEILI ESTEPANIAN, DENNIS
                 15     ROMANEZ, ARTEM KUPRIIETS, NEIL                   AND
                        KREUZER, WAFAY NADIR, and KENNETH
                 16     BROWN, on behalf of themselves and all others    Case No. 4:23-cv-03902-YGR
                        similarly situated,
                 17                                                     DECLARATION OF JASJIT
                                             Plaintiffs,                AHLUWALIA IN SUPPORT OF
                 18                                                     DEFENDANT TESLA, INC.’S
                                       v.                               MOTION TO COMPEL
                 19                                                     ARBITRATION AND TO DISMISS
                        TESLA, INC.,                                    CLASS ACTION COMPLAINTS
                 20
                                            Defendant.                   Judge:   Hon. Yvonne Gonzalez Rogers
                 21                                                      Ctrm:    1, 4th Flr – Oakland Courthouse
                        AND RELATED CASE
                 22
                 23     SAMUEL VAN DIEST and SERGEY
                        KHALIKULOV, on behalf of themselves and all
                 24     others similarly situated,
                 25                         Plaintiffs,
                 26                    v.
                 27
                        TESLA, INC. dba TESLA MOTORS,
                 28
MORGAN, LEWIS &                              Defendant.
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                  DECLARATION JASJIT AHLUWALIA ISO MOTION TO COMPEL ARBITRATION
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                    1                            DECLARATION OF JASJIT AHLUWALIA

                    2          I, Jasjit Ahluwalia, hereby declare pursuant to 28 U.S.C. § 1746:

                    3          1.      I am over eighteen years of age. I am aware of the following based on my own

                    4   personal knowledge and my review of relevant documents.

                    5          2.      I am a Senior Staff Product Manager at Tesla, Inc. (“Tesla”), where I have been

                    6   employed for more than ten years. In my position, I am familiar with the service, sales, and leasing

                    7   of Tesla vehicles, including the related creation and record-keeping procedures. I also am familiar

                    8   with those processes as of the date of the subject transactions involving James Porter (“Porter”),

                    9   Bryan Perez (“Perez”), Dro Esraeili Estepanian (“Estepanian”), Dennis Romanez (“Romanez”),

                 10     Artem Kupriiets (“Kupriiets”), Neil Kreuzer (“Kreuzer”), Wafary Nadir (“Nadir”), Kenneth Brown

                 11     (“Brown”), Samuel Van Diest (“Van Diest”) and Sergey Khalikulov (“Khalikulov”) (collectively,

                 12     “Plaintiffs”). Based on such personal knowledge and my review of Tesla’s file for each Plaintiff,

                 13     I am able to declare the following.

                 14            3.      As part of its business, Tesla regularly generates and maintains a variety of records

                 15     relating to its transactions and communications with customers. Tesla currently maintains such

                 16     records in a database called DocGen. DocGen includes copies of customer Motor Vehicle Order

                 17     Agreements (referenced below as an “Order Agreement”) and Retail Installment Sales Contracts

                 18     (referenced below as a “Sales Agreement”).

                 19            4.      Porter entered into an Order Agreement for a Model Y vehicle on March 6, 2022.

                 20     Porter’s Order Agreement is attached as Exhibit 1.

                 21            5.      Perez entered into an Order Agreement for a Model 3 vehicle on January 22, 2022.

                 22     Perez’s Order Agreement is attached as Exhibit 2.

                 23            6.      Estepanian entered into an Order Agreement for a Model 3 vehicle on March 18,

                 24     2022. Estepanian’s Order Agreement is attached as Exhibit 3.

                 25            7.      Romanez entered into an Order Agreement for a Model 3 vehicle on Dec. 9, 2020.

                 26     Romanez’s Order Agreement is attached as Exhibit 4.

                 27            8.      Kupriiets entered into an Order Agreement for a Model Y vehicle on February 11,

                 28     2023. Kupriiets’ Order Agreement is attached as Exhibit 5.
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                     1           9.      Kreuzer entered into three order agreements, an Order Agreement for a Model 3

                     2   vehicle on December 3, 2021, an Order Agreement for a Model 3 vehicle on March 20, 2022, an

                     3   Order Agreement for a Model 3 vehicle on April 8, 2022. Kruezer’s Order Agreement is attached

                     4   as Exhibit 6-8.

                     5           10.     Nadir entered into an Order Agreement for a Model Y vehicle on April 9, 2021.

                     6   Nadir’s Order Agreement is attached as Exhibit 9.

                     7           11.     Brown entered into an Order Agreement for a Model Y vehicle on May 5, 2023.

                     8   Brown’s Order Agreement is attached as Exhibit 10.

                     9           12.     Van Diest entered into an Order Agreement for a Model 3 vehicle on May 22,

                    10   2021. Van Diest’s Order Agreement is attached as Exhibit 11.

                    11           13.     Khalikulov entered into an Order Agreement for a Model 3 vehicle on December

                    12   14, 2022. Khalikulov’s Order Agreement is attached as Exhibit 12.

                    13           14.     When a customer agrees to an Order Agreement with an “Agreement to Arbitrate,”

                    14   the arbitration agreement provides instructions to the customer about where to send notice if the

                    15   customer elects to opt out of the arbitration. When Tesla receives a customer notice opting out of

                    16   an arbitration agreement, a copy of that notice is stored in DocGen.

                    17           15.     To place an order, the customer must either select the vehicle (in the case of a used

                    18   vehicle) or configure the vehicle by selecting various options (in the case of a new vehicle), enter

                    19   payment details and other information, and click a button to place the order and agree to Tesla's

                    20   terms and conditions. These terms and conditions are set forth in the Order Agreement. At the

                    21   time of the order, the customer need only pay the “Order Payment,” with the balance due at or

                    22   shortly before the time they take delivery (i.e., possession) of the vehicle.

                    23           16.     After customers complete the order process, they receive various documents in

                    24   their Tesla Account, including a Vehicle Configuration that shows details of the customer's order

                    25   and includes a record of when the customer placed the order and accepted the applicable Order

                    26   Agreement. Customers also receive in their Tesla Account a copy of the Order Agreement and

                    27   final price sheet.

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                     1          17.     The exhibits referenced in and attached to this declaration are records relating to

                     2   Plaintiffs from DocGen.

                     3          18.     DocGen records do not show that any of the Plaintiffs mailed to Tesla at the

                     4   address provided in their Order Agreements any request to opt out of the Agreement to Arbitrate.

                     5   If any of the Plaintiffs mailed such a request to Tesla, a copy would be stored in Tesla’s DocGen

                     6   records.

                     7          19.     On June 18, 2022, Porter and Tesla entered into a Retail Installment Sale Contract

                     8   (“Porter Sale Agreement”) for the financing and purchase of a 2022 Tesla Model Y vehicle. A

                     9   true and correct copy of Porter’s Sale Agreement is attached hereto as Exhibit 13.

                    10          20.     On June 29, 2022, Estepanian and Tesla entered into a Retail Installment Sale

                    11   Contract (“Estepanian Sale Agreement”) for the financing and purchase of a 2022 Tesla Model 3

                    12   vehicle. A true and correct copy of Estepanian’s Sale Agreement is attached hereto as Exhibit

                    13   14.

                    14          21.     On March 28, 2023, Kupriiets and Tesla entered into a Retail Installment Sale

                    15   Contract (“Kupriiets Sale Agreement”) for the financing and purchase of a 2023 Model Y vehicle.

                    16   A true and correct copy of Kupriiet’s Sale Agreement is attached hereto as Exhibit 15.

                    17          22.     On June 25, 2022, Kreuzer and Tesla entered into a Retail Installment Sale

                    18   Contract (“Kreuzer Sale Agreement”) for the financing and purchase of a 2022 Model Y vehicle.

                    19   A true and correct copy of Kreuzer’s Sale Agreement is attached hereto as Exhibit 16.

                    20          23.     On May 7, 2021, Nadir and Tesla entered into a Retail Installment Sale Contract

                    21   (“Nadir Sale Agreement”) for the financing and purchase of a 2021 Model Y vehicle. A true and

                    22   correct copy of Nadir’s Sale Agreement is attached hereto as Exhibit 17.

                    23          24.     On June 28, 2021, Van Diest and Tesla entered into a Retail Installment Sale

                    24   Contract (“Van Diest Sale Agreement”) for the financing and purchase of a 2021 Tesla Model 3

                    25   vehicle. A true and correct copy of Van Diest’s Sale Agreement is attached hereto as Exhibit 18.

                    26          25.     On December 23, 2022, Khalikulov, Khalikulov’s co-buyer, and Tesla entered into

                    27   a Retail Installment Sale Contract (“Khalikulov Sale Agreement”) for the financing and purchase

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                     1   of a 2020 Tesla Model 3. vehicle. A true and correct copy of Khalikulov’s Sale Agreement is

                     2   attached hereto as Exhibit 19.

                     3           26.     Porter, Estepanian, Kupriiets, Kreuzer, Nadir, Van Diest, and Khalikulov signed

                     4   their respective Sale Agreements electronically. Their electronic signatures were made using

                     5   eCore® On Demand (EODTM) Service, which authenticates the signor’s identity. Once

                     6   executed, the Sale Agreements were respectively placed in the Tesla accounts for Porter,

                     7   Estepanian, Kupriiets, Kreuzer, Nadir, Van Diest, and Khalikulov. Tesla also signed the Sale

                     8   Agreements.

                     9           27.     Once the Sale Agreements were signed electronically by Tesla and Plaintiffs

                    10   Porter, Estepanian, Kupriiets, Kreuzer, Nadir, Van Diest, and Khalikulov, they were

                    11   automatically saved and stored in DocGen. Given my knowledge and understanding of Tesla’s

                    12   procedures, the Porter, Estepanian, Kupriiets, Kreuzer, Nadir, Van Diest, and Khalikulov Sale

                    13   Agreements were placed in DocGen (as they were here) only after Plaintiffs executed their Sale A

                    14   greements.

                    15           28.     Porter, Estepanian, Kupriiets, Kreuzer, Nadir, Van Diest, and Khalikulov signed

                    16   the Sale Agreements in multiple places, including the “Agreement to Arbitrate” section on the
                    17   first page.
                    18           I declare under penalty of perjury that the foregoing is true and correct. Executed this 22nd
                    19   day of November 2023, in Hayward, California.
                    20                                                 Delivery (Nov 22, 2023 10:30 PST)


                    21                                                 Jasjit Ahluwalia

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